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                                                                  MEMO ENDORSED
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                                                                                  VIA CM/ECF ONLY



                                                                 January 7, 2021

U.S. District Judge Katherine Polk Failla
United States District Court
Southern District of New York
500 Pearl Street, Room 1320
New York, New York 10007

         Re:      Mercer v. Kennebunk Port Inn, LLC, Case No. 20-cv-10222-KPF

Dear District Judge Failla:

        This office represents the Plaintiff Stacey Mercer (“Plaintiff”) in connection with the
above-referenced action. We are pleased to inform the Court that the above referenced action
has been settled and that the parties are in the process of drafting and exchanging a settlement
agreement that will be reviewed by the parties and their counsel for execution. Respectfully, we
are requesting together with counsel for the defendant a stay of all deadlines and conferences for
a period of up to thirty (30) days so that the parties can finalize the settlement agreement and file
a stipulation of dismissal.

         We thank this Honorable Court for its time and consideration in this matter.

                                                                 Respectfully submitted,

                                                                 BASHIAN & PAPANTONIOU, P.C.
                                                                 /s/ Erik M. Bashian
                                                                 ________________________
                                                                 Erik M. Bashian, Esq.

cc:      Samuel Sverdlov, Esq. (via CM/ECF)




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The Court is in receipt of the above joint motion from the parties
(Dkt. #9). Application GRANTED. All deadlines and conferences are
hereby adjourned. Furthermore, the Court ORDERS that this action be
conditionally discontinued without prejudice and without costs;
provided, however, that on or before February 10, 2021, the parties
may submit to the Court their own Stipulation of Settlement and
Dismissal for the Court to So Order. Otherwise, within such time
Plaintiff may apply by letter for restoration of the action to the
active calendar of the Court in the event that the settlement is not
consummated. Upon such application for reinstatement, the parties
shall continue to be subject to the Court’s jurisdiction, the Court
shall promptly reinstate the action to its active docket, and the
parties shall be directed to appear before the Court, without the
necessity of additional process, on a date within ten (10) days of
the application, to schedule remaining pretrial proceedings and/or
dispositive motions, as appropriate. This Order shall be deemed a
final discontinuance of the action with prejudice in the event that
Plaintiff has not requested restoration of the case to the active
calendar on or before February 10, 2021.

The Clerk of Court is directed to terminate all pending motions,
adjourn all remaining dates, and close this case.



Dated:   January 11, 2021             SO ORDERED.
         New York, New York




                                      HON. KATHERINE POLK FAILLA
                                      UNITED STATES DISTRICT JUDGE
